Case:19-04658-swd Doc#:1 Filed: 11/04/19 Page1of7

Fill in this information to identify your case:

United States Bankruptcy Court for the:

Weste co district of JMNidugen

Case number (if knawn):

Official Form 101

Chapter you are filing under:

Chapter 7
(J Chapter 11
C) Chapter 12
) Chapter 13

PILED

2019NO¥-4 AMI 4&9

f  CLER!
NKRUPTSY COUR Check if this is an
PAysT Ae tuewieay amended filing

No Fee Tendered
LOYU-TE 2

   

Voluntary Petition for Individuals Filing for Bankruptcy 12417

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

[Part 4: | Identify Yourself

1. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

2. All other names you
have used in the last 8
years

Include your married or
maiden names.

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number
(ITIN)

Official Form 101

About Debtor 1:

One!

About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

 

 

 

 

 

 

First name | First name
Leva)

Middle nage Middle name
l anask on

Last name .) Last name

Suffix (Sr., Jr., tl, ll) Suffix (Sr., Jr., Il, Ill)

First name First name

Middle name Middle name

Last name Last name

First name First name

Middle name Middle name

Last name Last name

XXX = XX - 5 | ly 5 XXX  — XX —

OR OR

9xx - xx - 9 xx - xx -

Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 1

 

Wir ey Leidh | anes for
First Namo | Middte Neos Last Najhe
About Debtor 1:

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

xt have not used any business names or EINs.

Case number (if known),

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business names or EINs.

 

 

Business name

Business name

 

Business name

EIN

EIN

 

Business name

EIN

If Debtor 2 lives at a different address:

 

SHO Qua lap a

 

 

 

Number Street Number Street

Laas na mM\ 4gq lO

City J State ZIP Code City State ZIP Code
\ngham County

County J° | County

if your mailing address Is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C1 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2
Debtor 1

Case:19-04658-swd Doc#:1 Filed: 11/04/19 Page 3of7

First Name

Wn mey Leigh

"Middle Nanje

Lang 5 bor

Upst Name

Case number (if known),

a Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

. Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7
QC) Chapter 11
QO) Chapter 12
QC) Chapter 13

C) | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

of need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

O | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

No

 

 

 

 

 

 

Cl Yes. District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD /YYYY
& No
QO) Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known

 

MM/OD/YYYY

Go to line 12.
Has your landlord obtained an eviction judgment against you?

ts

No. Go to line 12.

Q) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Larri meu le \ gh Lang fon Case number (it known),

First Name Middle Name) Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor No. Go to Part 4.
of any full- or part-time
business? CJ Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as

a corporation, partnership, or
sad tion, pa P Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
QO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

C) None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are youa small business #"Y of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? 4 .
a No. | am not filing under Chapter 11.
For a definition of small
business debtor, see Q) No. | am filing under Chapter 11, but !am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

C) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ra Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any & No
property that poses or is

 

alleged to pose a threat UL) Yes. Whatis the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

ro
property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1

First Name

LAY mney Leah
[ Middle Naa

Langston

Last ame

Case number (i known)

Ea Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file,

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

O1 certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1 am not required to receive a briefing about

credit counseling because of:

CJ incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so,

C) Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

CI | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

OQ) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Q) | am not required to receive a briefing about
credit counseling because of:

QO Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

CO) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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Debtor 1 Ldhitner_ Leigh

First Name T Middle Narpe

Langs boo

Case number tit known),

 

4 Name

ea Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

is. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

For you

Official Form 101

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C1 No. Go to line 16b.
Yes. Go to line 17.

16b, Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C) No. Goto line 16c.
QC) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

QC) No. | am not filing under Chapter 7. Go to line 18.

& Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

QC) No
QO) Yes

o 1.49

C1 50-99
QO) 100-199
QO) 200-999

Gf s0-$50,000

QO) $50,001-$100,000
O) $100,001-$500,000
QO) $500,001-$1 million

& so-s50,000

L) $50,001-$100,000
Q) $100,001-$500,000
C) $§00,001-$1 million

C) 1,000-5,000
CQ) 5,001-10,000
Q) 10,001-25,000

Q) $1,000,001-$10 million

Q) $10,000,001-$50 million
(I $50,000,001-$100 million
CJ $100,000,001-$500 million

Q) $1,000,001-$10 million

Q) $10,000,001-$50 million
C) $50,000,001-$100 million
OC) $100,000,001-$500 million

C) 25,001-50,000
Q) 50,001-100,000
C) More than 100,000

(J $500,000,001-$1 billion

Q) $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
() More than $50 billion

C) $500,000,001-81 billion

[) $1,000,000,001-$10 billion
©) $10,000,000,001-$50 billion
C) More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

lf no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C, §§ 152, 1341, 1519, a

«APY

Signdtufe of Debtor 1

Executed on

WG

3571.

rad x

Signature of Debtor 2

MM / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy

Executed on

MM / DD /YYYY

page 6
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Debtor 1 Ld himney Ley ah

First Name [Midaie Name)

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

 

anasto Case number {it known)

Last Nagoe

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C1.No

ef ves

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

ONo
of ves
Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

No

C) Yes. Name of Person .
Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if! do not properly handle the case.

 

Signature of Debtor 2

Date O S q Date
MM/DD /¥YYY MM/ DD /YYYY

Contact phone Contact phone

 

Cell phone (Ss 0) 4Aqg = 3 304 Cell phone

 

 

Email address Whither lesgh lA UYahoo — Emaitaddress
"com
lowercase "Et
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